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Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Flix Brewhouse Texas V LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Flix Brewhouse
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  6450 N Desert Blvd                                              2000 S Interstate 35
                                  Suite 12                                                        Ste Q11
                                  El Paso, TX 79912                                               Round Rock, TX 78681
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  El Paso                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.flixbrewhouse.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor    Flix Brewhouse Texas V LLC                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5121

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    Flix Brewhouse Texas V LLC                                                                      Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      Allan L. Reagan                                               Relationship               Affiliate

                                                     District    W.D. Tex. (Austin)           When      10/22/20               Case number, if known      20-11161


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)

                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.

                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                                                     6450 N Desert Blvd
                                                                                     Suite 12
                                                    Where is the property?           El Paso, TX, 79912-0000
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?

                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor   Flix Brewhouse Texas V LLC                                                 Case number (if known)
         Name

                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion


16. Estimated liabilities    $0 - $50,000                               $1,000,001 - $10 million             $500,000,001 - $1 billion
                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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                   Rachael L. Smiley

                 Rachael L. Smiley

                Ferguson Braswell Fraser Kubasta PC



                 2500 Dallas Parkway, Suite 600, Plano, TX 75214


                             972-378-9111                    rsmiley@fbfk.law
                 24066158, TX
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 Fill in this information to identify the case:
 Debtor name Flix Brewhouse Texas V LLC
 United States Bankruptcy Court for the: WESTERN DISTRICT OF TEXAS                                                                                    Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 1570 Cinema                     Michael Quaranto                Trade creditor                                                                                             $5,400.00
 Services LTD
 224 Pine Road
 Kemah, TX 77565                 915-995-7500
 ACC Business                                                    Trade creditor                                                                                             $5,235.57
 P.O. Box 105306
 Atlanta, GA                     800-322-3076
 30348-5306
 Country Malt                                                    Trade creditor                                                                                             $1,631.70
 P.O. Box 51602
 Los Angeles, CA                 1-360-905-3380
 90051-5902
 Digital Light Source                                            Trade creditor                                                                                               $895.01
 LLC                             samihaddad@dls.d
 2768 Santa Ynez                 igital
 Avenue
 Simi Valley, CA
 93063
 Ecolab Institutional                                            Trade creditor                                                                                             $5,988.58
 P.O. Box 70343
 Chicago, IL 60673               1-800-352-5326
 Ecolab Pest                                                     Trade creditor                                                                                             $2,525.99
 Elimination
 26252 Network                   1-800-352-1671
 Place
 Chicago, IL 60673
 Efrains Janitorial                                              Trade creditor                                                                                             $2,465.94
 Services
 11993 Braveheart                1-915-244-0289
 El Paso, TX 79936
 El Paso Disposal                                                Trade creditor                                                                                             $1,866.65
 5539 El Paso Dr
 El Paso, TX
 79905-2907
 El Paso Electric                                                Trade creditor                                                                                             $3,986.90
 P.O. Box 982
 El Paso, TX
 79960-0982

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    Flix Brewhouse Texas V LLC                                                                         Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 El Paso Tax                                                     Property taxes                                                                                         $117,319.72
 Assessor-Collector
 P.O. Box 2992
 El Paso, TX
 79999-2992
 Green Arrow                                                     Trade creditor                                                                                             $1,285.00
 Environmental
 Services
 7651 Esters
 Boulevard
 Suite 200
 Irving, TX 75063
 Jesse's Window                                                  Trade creditor                                                                                               $844.35
 Cleaning
 6527 Cheyenne Trail 1-915-757-2888
 El Paso, TX 79925
 Nova Clean                                                      Trade creditor                                                                                             $9,233.19
 5641 Valley Elder
 El Paso, TX 79932
 PyroCom Systems                                                 Trade creditor                                                                                             $1,409.38
 820 Kastrin
 El Paso, TX 79907
 ROP Artcraft LLC    Adam Frank                                  Lessor                 Disputed                $1,427,963.59                 Unknown                 $1,427,963.59
 106 Mesa Park Drive
 El Paso, TX 79912
 Secured Retail                                                  Trade creditor                                                                                             $7,094.95
 Networks
 9963 Muirlands Blvd
 Irving, CA 92618
 Sysco New Mexico                                                Trade creditor                                                                                           $41,801.28
 601 Comanche Rd
 NE
 Albuquerque, NM
 87107
 Trane US Inc                                                    Trade creditor                                                                                             $7,160.74
 P.O. Box 845053
 Dallas, TX
 75284-5053
 Ushio America Inc                                               Trade creditor                                                                                               $813.95
 P.O. Box 7474
 Chicago, IL 60677
 Venue Valet CC LLC                                              Trade creditor                                                                                             $5,273.94
 6601 Vaught Ranch
 Rd
 Suite 101
 Austin, TX 78730




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                           1570 Cinema Services LTD
                           224 Pine Road
                           Kemah, TX 77565


                           4 Over International LLC
                           1225 Los Angeles Street
                           Glendale, CA 91207


                           ACC Business
                           P.O. Box 105306
                           Atlanta, GA 30348-5306


                           Airgas International Carbonation
                           2530 Sever Road
                           Suite 300
                           Dallas, TX 75373


                           Allan L. Reagan
                           2000 S. IH-35, Suite Q11
                           Round Rock, TX 78681-6942


                           Cinema Breweries Inc
                           2000 S Interstate 35
                           Ste Q11
                           Round Rock, TX 78681


                           CineVizion LLC
                           5301 Melrose Avenue
                           Suite B-210
                           Los Angeles, CA 90038


                           Country Malt
                           P.O. Box 51602
                           Los Angeles, CA 90051-5902


                           Davis Wright Tremaine LLP
                           Attention: J. Riley Lagesen
                           1300 SW Fifth Avenue
                           Suite 2400
                           Portland, OR 97201-5610


                           Digital Light Source LLC
                           2768 Santa Ynez Avenue
                           Simi Valley, CA 93063
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                       Direct TV
                       P.O. Box 105249
                       Atlanta, GA 30348-5249


                       Ecolab Institutional
                       P.O. Box 70343
                       Chicago, IL 60673


                       Ecolab Pest Elimination
                       26252 Network Place
                       Chicago, IL 60673


                       Edward Don & Company
                       2562 Paysphere Circle
                       Chicago, IL 60674


                       Efrains Janitorial Services
                       11993 Braveheart
                       El Paso, TX 79936


                       El Paso Disposal
                       5539 El Paso Dr
                       El Paso, TX 79905-2907


                       El Paso Electric
                       P.O. Box 982
                       El Paso, TX 79960-0982


                       El Paso Tax Assessor-Collector
                       P.O. Box 2992
                       El Paso, TX 79999-2992


                       El Paso Water
                       P.O. Box 511
                       El Paso, TX 79961-0511


                       Flix Brewhouse LLC
                       2000 S Interstate 35
                       Ste Q11
                       Round Rock, TX 78681


                       Flix Brewhouse Texas II LLC
                       2000 S Interstate 35
                       Ste Q11
                       Round Rock, TX 78681
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                       Flix Brewhouse Texas IV
                       2000 S Interstate 35
                       Ste Q11
                       Round Rock, TX 78681


                       Flix Entertainment LLC
                       2000 S Interstate 35
                       Ste Q11
                       Round Rock, TX 78681


                       Grandstand
                       P.O. Box 3497
                       Wichita, KS 67201


                       Green Arrow Environmental Services
                       7651 Esters Boulevard
                       Suite 200
                       Irving, TX 75063


                       Homefield Grill
                       2000 S Interstate 35
                       Ste Q11
                       Round Rock, TX 78681


                       IFC Films LLC
                       11 Penn Plaza
                       New York, NY 10001


                       Internal Revenue Service
                       Centralized Insolvency Office
                       P. O. Box 7346
                       Philadelphia, PA 19101-7346


                       Irma Najera
                       c/o Huyhn Law Firm
                       1742 N. Zaragoza Rd. Ste A
                       El Paso, TX 79936


                       Jesse's Window Cleaning
                       6527 Cheyenne Trail
                       El Paso, TX 79925


                       Knife Guys Inc
                       3412 Stanford Drive
                       Albuguerque, NM 87107-2020
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                       L&F Distributors
                       6949 Market Avenue
                       El Paso, TX 79915


                       Loomis
                       Dept 0757
                       Po Box 120757
                       Dallas, TX 75312-1757


                       McMaster-Carr
                       P.O. Box 7690
                       Chicago, IL 60680-7690


                       Nova Clean
                       5641 Valley Elder
                       El Paso, TX 79932


                       Office Depot
                       Po Box 660113
                       Dallas, TX 75266-0113


                       PyroCom Systems
                       820 Kastrin
                       El Paso, TX 79907


                       Rodriguez Produce Inc
                       125 N Stevens St
                       El Paso, TX 79905


                       ROP Artcraft LLC
                       106 Mesa Park Drive
                       El Paso, TX 79912


                       Secured Retail Networks
                       9963 Muirlands Blvd
                       Irving, CA 92618


                       Shoes For Crews LLC
                       P.O. Box 734176
                       Chicago, IL 60673-4176


                       Swank Motion Pictures
                       2844 Paysphere Circle
                       Chicago, IL 60674
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                       Sysco New Mexico
                       601 Comanche Rd NE
                       Albuquerque, NM 87107


                       Sysco Texas
                       1260 Schwab Road
                       New Braunfels, TX 78132-5155


                       Texas Alcoholic Beverage Commission
                       Licenses and Permits Division
                       P.O. Box 13127
                       Austin, TX 78711


                       Texas Comptroller of Public Accounts
                       P.O. Box 13528 Capitol Station
                       Revenue Accounting Divison - Bankruptcy
                       Austin, TX 78711


                       Texas Gas Service Company
                       P.O. Box 219913
                       Kansas City, MO 64121-9913


                       Texas Workforce Commission
                       TWC Building - Regulatory Integrity Div
                       101 East 15th Street
                       Austin, TX 78778


                       Trane US Inc
                       P.O. Box 845053
                       Dallas, TX 75284-5053


                       United States Trustee
                       615 E. Houston, Suite 533
                       San Antonio, TX 78205


                       Ushio America Inc
                       P.O. Box 7474
                       Chicago, IL 60677


                       Venue Valet CC LLC
                       6601 Vaught Ranch Rd
                       Suite 101
                       Austin, TX 78730
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                       Vistar Corporation
                       P.O. Box 951080
                       Dallas, TX 75395


                       Woodward Center Inc
                       2000 S Interstate 35
                       Ste Q11
                       Round Rock, TX 78681
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                                                               United States Bankruptcy Court
                                                                     Western District of Texas
 In re      Flix Brewhouse Texas V LLC                                                                Case No.
                                                                                Debtor(s)             Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Flix Brewhouse Texas V LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 Flix Entertainment LLC
 2000 S Interstate 35
 Ste Q11
 Round Rock, TX 78681




    None [Check if applicable]




 July 12, 2021                                                       /s/
 Date
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Flix Brewhouse Texas V LLC




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Exhibit B-2 to Appendix 5005: If filing "bare-bones" petition, matrix, & 20 largest unsecured list.
                                                               United States Bankruptcy Court
                                                                       Western District of Texas
 In re      Flix Brewhouse Texas V LLC                                                                      Case No.
                                                                                    Debtor(s)               Chapter    11



                                        DECLARATION FOR ELECTRONIC FILING OF
                                 BANKRUPTCY PETITION AND MASTER MAILING LIST (MATRIX)

PART I: DECLARATION OF PETITIONER:

         As an individual debtor in this case, or as the individual authorized to act on behalf of the corporation,
partnership, or limited liability company seeking bankruptcy relief in this case, I hereby request relief as, or on behalf of,
the debtor in accordance with the chapter of title 11, United States Code, specified in the petition to be filed electronically
in this case. I have read the information provided in the petition and in the lists of creditors to be filed electronically in
this case and I hereby declare under penalty of perjury that the information provided therein, as well as the social
security information disclosed in this document, is true and correct. I understand that this Declaration is to be filed with
the Bankruptcy Court within five (5) business days after the petition and lists of creditors have been filed electronically. I
understand that a failure to file the signed original of this Declaration will result in the dismissal of my case.

            I hereby further declare under penalty of perjury that I have been authorized to file the petition and lists of
            creditors on behalf of the debtor in this case.

 Date: July 12, 2021
                                                                     Allan L. Reagan,President,
                                                                     Hospitality Investors Inc., Debtor's
                                                                     Manager

PART II: DECLARATION OF ATTORNEY:

        I declare under penalty of perjury that: (1) I will give the debtor(s) a copy of all documents referenced by Part I
herein which are filed with the United States Bankruptcy Court; and (2) I have informed the debtor(s), if an individual
with primarily consumer debts, that he or she may proceed under chapter 7, 11, 12, or 13 of title 11, United States Code,
and have explained the relief available under each such chapter.

 Date:         July 12, 2021                                                              /s/




                                                                                                                            Adopted: December 1, 2004
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